     Case 2:10-cr-00172-RLH-GWF            Document 142        Filed 10/26/10      Page 1 of 2




 1

 2

 3

 4

 5                             UNITED STATES DISTRICT COURT
 6                                      DISTRICT OF NEVADA
 7                                                    ***

 8   UNITED STATES OF AMERICA,           )
                                         )
 9                     Plaintiff,        )                    Case No. 2:10-cr-0172-RLH-PAL
                                         )
10         vs.                           )                              ORDER
                                         )                         (Motion for Stay–#140)
11   LIOR ZAKEN.                         )
                                         )
12                     Defendant.        )
     ____________________________________)
13

14                  Before the Court is the United States’ Motion for Stay of Magistrate Judge’s Release

15   Order (#140, filed October 25, 2010), seeking a stay of release of the Defendant Zaken until the

16   Court can address its appeal of Magistrate Judge Lawrence R. Leavitt’s Order of release on bond.

17   The Government’s Appeal (#141) was filed contemporaneously.

18                  The Court will address the Motion for Stay immediately, in the interests of justice,

19   and to avoid unnecessary delay. This motion and the appeal raise serious questions about the

20   potential of Defendant Zaken being a significant danger to the community and a serious risk of non-

21   appearance, including the risks of obstruction of justice and intimidation or injury to prospective

22   witnesses. While this Court declines to form an opinion about the merits of the Government’s

23   motion or appeal, the questions raised require expedited consideration.

24                  IT IS THEREFORE ORDERED that the Motion for Stay of Magistrate Judge’s

25   Release Order (#140) is granted, and Defendant Zaken’s release is stayed until the appeal of the

26   Magistrate Judge’s Order can be heard and decided.

                                                       1
     Case 2:10-cr-00172-RLH-GWF           Document 142       Filed 10/26/10     Page 2 of 2




 1                 IT IS FURTHER ORDERED that the Defendant shall file any written response to the

 2   appeal no later than noon, Friday, October 29, 2010, with a courtesy copy to chambers.

 3                 IT IS FURTHER ORDERED that a hearing will be held on the appeal at 3:00 p.m.,

 4   November 1, 2010, in Courtroom 6C, Lloyd D. George U.S. Courthouse, 333 Las Vegas Blvd.

 5   South, Las Vegas, Nevada.

 6                 Dated: October 26, 2010.

 7

 8                                                        ____________________________________
                                                          Roger L. Hunt
 9                                                        Chief United States District Judge

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                      2
